                Case 20-10014-mdc Doc 146-7 Filed 04/22/20 Entered 04/22/20 23:59:53    Desc
                              Exhibit E - Collegeville Equipment Value Page 1 of 6


Manufacturer                Model                          Type                   QTY             Color
     Matrix                      7XE                      Treadmill               18                Red
     Cybex                   650A Arc                    Arc Trainer              3                 Red
     Cybex                  650A TB Arc                  Arc Trainer              3                 Red
     Matrix                     750                      Upright Bike             3                 Red
     Matrix                     750                        Rec Bike               4                 Red
     Octane                     3700                       Elliptical             1                Silver
     Matrix                       7E                       Elliptical             7                Silver
     Marpo                rope pull trainer            rope pull trainer          1                black
   Concept 2                 Concept 2                      Rower                 2                Silver
     Matrix                   stepmill                     Stepmill               1                Silver
    Schwinn                   Spinner                      Spinner                10               White

     Matrix                    Versa             Selectorized Seated Leg Press     1           Yellow/Blk Pads
     Matrix                    Versa              Selectorized Seated Leg Curl     1           Yellow/Blk Pads
     Matrix                    Versa                   Selectorized Glute          1           Yellow/Blk Pads
     Matrix                    Versa               Selectorized Leg Extension      1           Yellow/Blk Pads
     Matrix                    Versa                Selectorized Chest Press       1           Yellow/Blk Pads
     Matrix                    Versa                Selectorized Biceps Curl       1           Yellow/Blk Pads
     Matrix                    Versa               Selectorized Hip Abduction      1           Yellow/Blk Pads
     Matrix                    Versa               Selectorized Hip Adduction      1           Yellow/Blk Pads
     Matrix                    Versa             Selectorized Triceps Extension    1           Yellow/Blk Pads
     Matrix                    Versa                   Selectorized Row            1           Yellow/Blk Pads
     Matrix                    Versa              Selectorized Shoulder Press      1           Yellow/Blk Pads
     Matrix                    Versa             Selectorized Pec Fly/Rear Delt    1           Yellow/Blk Pads
     Matrix                    Versa                 Selectorized Pulldown         1           Yellow/Blk Pads
     Matrix                    Versa                       Abdominal               1           Yellow/Blk Pads
     Matrix                    Versa              Selectorized Back Extension      1           Yellow/Blk Pads
  Free Motion                 Dual FT                  Functional trainer          2                Silver




     Hoist                    PL Roc it                   Chest Press              1            Silver/redpad
     Hoist                    PL Roc it                    Leg Press               1            Silver/redpad
     Hoist                    PL Roc it                     Leg Ext                1            Silver/redpad
     Hoist                    PL Roc it                 Setaed Leg Curl            1            Silver/redpad
              Case 20-10014-mdc Doc 146-7 Filed 04/22/20 Entered 04/22/20 23:59:53    Desc
                            Exhibit E - Collegeville Equipment Value Page 2 of 6

    Hoist                   PL Roc it                       Mid Row               1           Silver/redpad
    Hoist                   PL Roc it                   Lat Pulldown              1           Silver/redpad
    Hoist                   PL Roc it                  Shoulder Press             1           Silver/redpad
    Hoist                   PL Roc it                     Biceps Curl             1           Silver/redpad
    Hoist                   PL Roc it                       Lat raise             1           Silver/redpad
    Hoist                   PL Roc it                      Tricep Dip             1           Silver/redpad
    Hoist                   PL Roc it                        Pec Fly              1           Silver/redpad
Free motion                   Duals                    Chest/Shoulder             1          Silver/blackpad
Free motion                   Duals                         Bicep/Ab              1          Silver/blackpad
Free motion                   Duals                     High low pully            1          Silver/blackpad
    Hoist                  cable cross       Cable cross half to make crossover   1                Silver
  Nautilus                     hip                       Hip Thruster             1                black
    Cybex                  Plate Load                     Smith Press             3                 red
    Hoist                  Plate Load                 Leg press Station           1          Silver/blackpad
    Hoist                  Plate Load                     Seated Calf             1           silver red pad
   Marpo                  rope trainer                   rope trainer             1          Silver/blackpad
   Matrix                 Power cage                      Power cage              3           silver blk pad
   Matrix                 Free weight                    Bench press              1          yellow blk pad
   Matrix                 Free weight                    Incline Press            1          yellow blk pad
    Hoist                 Free weight                  Leg raise chair            1              siler/red
    Hoist                 Free weight                Decline ab bench             1              siler/red
    Hoist                 Free weight                   45 degree be              1              siler/red
    Hoist                 Free weight                      flat bench             4              siler/red
    Hoist                 Free weight                      Adj incline            4              siler/red
    Hoist                 Free weight                    Barbell rack             1                 red
    Cybex                 Free weight             Twin tier dumbell racks         3                 red
    Hoist                 Free weight                    precher curl             1                 red
    TRUE                     stretch                     stretch cage             1                silver
   Inbody                 assessment               fat and muscle tester          1                white
     TKO                  Free weight                  accessory rack             1                silver
     GPI                    Dumbells                        5-50 set              2              urethane
     GPI                    Dumbells                       60-80x10               1              urethane
     GPI                       Bars                          full set                            urethane
     GPI                      Plates                         full set                            urethane
     GPI                 bells and rack        beauty bells and rack upright      1                silver
     GPI                 fixed barbells                   20-110 x10              1              urethane
          Case 20-10014-mdc Doc 146-7 Filed 04/22/20 Entered 04/22/20 23:59:53               Desc
                        Exhibit E - Collegeville Equipment Value Page 3 of 6

Group X         goup x balls, mats bands, etc        goup x balls, mats bands, etc       1
Tanning           standup taining booths                                                 3          red, yellow, blue
                                                 Package cost based on current used                  28,750-29,750
                                                   fitness euqipment market vlaue
                                                           Criteria based on
                                                Age, condition, brand name recognition

                   Assessment done by                     Mike Caruso
                    Industry Authority               WeBuyGymEquipment.com
Case 20-10014-mdc Doc 146-7 Filed 04/22/20 Entered 04/22/20 23:59:53   Desc
              Exhibit E - Collegeville Equipment Value Page 4 of 6
Case 20-10014-mdc Doc 146-7 Filed 04/22/20 Entered 04/22/20 23:59:53   Desc
              Exhibit E - Collegeville Equipment Value Page 5 of 6
Case 20-10014-mdc Doc 146-7 Filed 04/22/20 Entered 04/22/20 23:59:53   Desc
              Exhibit E - Collegeville Equipment Value Page 6 of 6
